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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS


 Ocean Semiconductor LLC

                   Plaintiff,
                                                    Civil Action No. 1:20-cv-12311-PBS
 v.

 Infineon Technologies AG and Infineon
 Technologies Americas Corp.,

                   Defendants.



           DEFENDANTS’ MOTION TO STAY PENDING INTER PARTES REVIEW

           Defendants Infineon Technologies AG and Infineon Technologies Americas Corp.

hereby respectfully move to stay this proceeding pending inter partes review of the eight patents-

in-suit.

           As set forth in more detail in the memorandum of law submitted with this motion, there

are currently petitions for inter partes review pending before the PTAB for each of the eight

patents asserted in this case. Given the very early stage of this case, the significant likelihood

that the IPR process will substantially simplify the case, and the absence of any undue prejudice

to Ocean Semiconductor LLC, Defendants respectfully request that the Court GRANT this

Motion and STAY these proceedings pending completion of the inter partes review process.

                                 REQUEST FOR ORAL ARGUMENT

           Pursuant to Local Rule 7.1(d), Defendants Infineon Technologies AG and Infineon

Technologies Americas Corp. believe that oral argument may assist the Court and request an oral

hearing to address this motion.
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                                    Respectfully submitted,

Date: August 27, 2021               /s/ Gregory F. Corbett
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                                    Infineon Technologies Americas Corp.
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                         LOCAL RULE 7.1(A)(2) CERTIFICATION

       I, Gregory F. Corbett, counsel for Defendants Infineon Technologies AG and Infineon
Technologies Americas Corp., hereby certify that we have conferred with counsel for Ocean
Semiconductor LLC to resolve or narrow the issues presented in this motion but, after good faith
attempt, the parties reached no agreement.

Dated: August 27, 2021                               /s/ Gregory F. Corbett
                                                     Gregory F. Corbett



                                CERTIFICATE OF SERVICE

        I certify that this document is being filed through the Court’s electronic filing system,
which serves counsel for other parties who are registered participants as identified on the Notice
of Electronic Filing (NEF). Any counsel for other parties who are not registered participants are
being served by first class mail on the date of electronic filing.

Dated: August 27, 2021                               /s/ Gregory F. Corbett
                                                     Gregory F. Corbett
